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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 UNITED STATES OF AMERICA


                       v.                   CRIMINAL ACTION NO.
                                            1:23-cr-00271-JPB
 CHAD CHRISTOPHER STARK,

                     Defendant.

            NOTICE OF SENTENCING DATE AND DEADLINES FOR
                     SENTENCING MATERIALS

TO THE ABOVE-NAMED DEFENDANT:

By direction of the Honorable J. P. Boulee, United States District Judge, YOU
ARE HEREBY ORDERED to appear in the United States District Court for the
Northern District of Georgia on Wednesday, November 29, 2023, at 1:00 PM in
Courtroom 1908, 75 Ted Turner Dr., SW, Atlanta, Georgia 30303, for imposition
of sentence.

If you are under bond, your failure to appear for sentencing on the above date will
result in the forfeiture of your bond.

IT IS FURTHER ORDERED that a Presentence Investigation and Report to this
Court will be completed and that you report immediately to the United States
Probation Office of this Court (Room 900) for interview and further instruction.

NOTE: No continuance can be granted except by Order of the Court. Any request
should be brought to the Court’s attention as soon as possible by filing a motion.

The Court hereby notifies the parties of the following instructions regarding
sentencing materials:

A.    Sentencing memoranda are required if:
         1. Either party requests a variance;
         2. Either party requests a departure; and/or
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        3. There is a disputed guidelines issue that remains unresolved.
     The party requesting the variance, requesting the departure or disputing the
     guideline(s) must submit a memorandum discussing the grounds for the
     variance, departure and/or dispute no later than ten business days before the
     sentencing hearing.

B.   If a party has filed a sentencing memorandum pursuant to section A, a
     response is mandatory and must be filed no later than five business days
     before the hearing.

C.   Sentencing memoranda are not required in cases where both parties agree on
     the appropriate sentence. However, the Court should be so informed no later
     than five business days before the hearing (either via a sentencing
     memorandum filed or, if no sentencing memoranda are being filed, via email
     to the Courtroom Deputy Clerk).

D.   In the event either party chooses to file a memorandum that is not otherwise
     mandatory, it must be submitted to the Court and served on opposing
     counsel no later than five business days before the sentencing hearing. No
     response is required to optional sentencing memoranda.

E.   A party who intends to present witnesses other than general character
     witnesses at the sentencing hearing shall advise the Court and opposing
     counsel of the identity of each witness and the estimated length of the
     testimony for each witness three business days before the sentencing
     hearing. It is not necessary to provide such notice for general character
     witnesses.
DATE: September 18, 2023
                                                  KEVIN P. WEIMER, CLERK

                                                  /s/Jennifer Lee
                                                  Courtroom Deputy Clerk




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